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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                                5/12/2020

UNITED STATES OF AMERICA,
                             Plaintiff,                 20 Civ. 3581 (NSR)
                                                        (Lead case)
               -v-
SARAH E. GLAISTER,
                             Defendant.


UNITED STATES OF AMERICA,
                             Plaintiff,                 20 Civ. 3583 (NSR)

               -v-
JOHN K. GLAISTER,
                             Defendant.


                            ORDER CONSOLIDATING ACTIONS
                            PURSUANT TO FED. R. CIV. P. 42(a)

       Pursuant to Federal Rule of Civil Procedure 42(a), when actions before the Court

“involve a common question of law or fact,” the Court may, inter alia, “consolidate the actions”

and “join for hearing or trial any or all matters at issue in the actions.” Fed. R. Civ. P. 42(a)(1)-

(2). Accordingly, the Court hereby ORDERS as follows:

       1.      The following actions are hereby consolidated for all purposes, including pre-trial

proceedings and trial, pursuant to Federal Rule of Civil Procedure 42(a):

            a. United States v. Sarah E. Glaister, No. 20 Civ. 3581 (NSR), filed May 7, 2020

            b. United States v. John K. Glaister, No. 20 Civ. 3583 (NSR), filed May 7, 2020

       2.      All papers filed in connection with the consolidated actions will be maintained

under the docket of the lead case, No. 20 Civ. 3581 (NSR).

       3.      All papers filed in the consolidated actions shall bear the consolidated caption set

forth above.
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       4.      The Clerk of the Court is directed to consolidate No. 20 Civ. 3581 (NSR) and No.

20 Civ. 3583 (NSR) under the docket of the lead case, No. 20 Civ. 3581 (NSR).

       5.      The Clerk of the Court is requested to terminate the motions (ECF No. 5 in 20

Civ. 3581 (NSR) and ECF No. 5 in 20 Civ. 3583 (NSR)).



Dated: May 12, 2020
       White Plains, New York
                                                   SO ORDERED:


                                                   ________________________________
                                                   HONORABLE NELSON S. ROMÁN
                                                   United States District Judge




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